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 5

 6                               UNITED STATES DISTRICT COURT
 7                               EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                   )      Case No. 1:19 CR 00082 DAD-BAM
                                                 )
10                                Plaintiff,     )      STIPULATION AND ORDER TO MODIFY
                                                 )      TERMS OF RELEASE
11                         vs.                   )
                                                 )
12   IFEANYI VINCENT NTUKOGU                     )
                                                 )
13                           Defendant.          )
     ________________________________            )
14

15          IT IS HEREBY STIPULATED by and between the parties hereto through their attorneys

16   of record, namely McGregor Scott, United States Attorney, by Melanie L. Alsworth, Assistant

17   United States Attorney, for the plaintiff, and Daniel A. Bacon, Attorney at Law, for defendant

18   Ifeanyi Vincent Ntukogu, that paragraph 7(j) of the conditions of release ordered by the court in

19   this matter on April 17, 2019, shall be amended as follows:

20          Defendant shall execute a bond or an agreement to forfeit upon failing to appear or failure

21   to abide by any of the conditions of release, the following sum of money or designated property,

22   and a $60,000 unsecured bond secured by the signature of the defendant and his wife.

23          1. A full equity property bond secured by the available equity in defendant’s primary

24   residence located at 2775 West Athens Avenue, Fresno, California 93711, APN 500-340-26. This

25   condition has been met by the recording of a Deed of Trust with Assignment of Rents with the

26   Fresno County Recorder on May 10, 2019, Document No. 2019-0048246.

27          2. The clerk of this court shall prepare and deliver a total reconveyance of the collateral

28   secured by a Deed of Trust with Assignment of Rents recorded on May 20, 2019, Document No.

     STIPULATION AND [PROPOSED] ORDER TO MODIFY TERMS OF RELEASE
            Case 1:19-cr-00082-TLN-BAM Document 60 Filed 03/17/20 Page 2 of 2



 1   2019-0048245, securing the property at 5077 West Cromwell Avenue, Fresno, California 93722,

 2   APN 502-222-23.

 3          3. The property at 5077 West Cromwell Avenue, Fresno, California 93722 shall be sold

 4   and all net proceeds of the sale due the defendant or his family (see attached Estimate of

 5   Settlement) shall be deposited with the Clerk of the United States District Court, Eastern District

 6   of California, to secure the defendant’s complying with his conditions of release and shall not be

 7   dispersed by the clerk of this court without prior court order.

 8          Executed this 17th day of March, 2020, at Fresno, California.
 9                                                 /s/ Daniel A. Bacon
                                                   DANIEL A. BACON, Attorney for
10                                                 IFEANYI VINCENT NTUKOGU
11          Executed this 17th day of March, 2020, at Fresno, California.
12                                                 McGREGOR SCOTT, United States Attorney
13                                                 By: /s/ Melanie L. Alsworth
                                                   MELANIE L. ALSWORTH
14                                                 Assistant U.S. Attorney, Attorney for Plaintiff

15

16                                                ORDER

17          IT IS SO ORDERED that the revised paragraph 7(j) of the conditions of release is

18   approved. The Estimate of Settlement is attached to the parties’ stipulation at Docket 59. The

19   clerk of the Court is directed to serve a copy of this order on Budget & Financial Management

20   department of this Court.

21
     IT IS SO ORDERED.
22

23      Dated:     March 17, 2020                              /s/ Barbara A. McAuliffe              _
                                                        UNITED STATES MAGISTRATE JUDGE
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